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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                                    Hon. Katharine S. Hayden
v.
                                                    Civ. No. 03-844
RAHMAN NICHOLS
____________________________________

                                             ORDER

       THIS MATTER having come before the Court on a Petition for Warrant or Summons for

Offender Under Supervision, dated July 13, 2011, and this Court holding a supervised release

violation hearing on September 12, 2011,

       IT IS HEREBY ORDERED, on this 20th day of September, 2011 that defendant’s

supervised release violation hearing is adjourned to October 5, 2011 at 3 p.m., pending defense

counsel’s arrangement for and receipt of a mental evaluation report of the defendant to be presented

to this Court, prior to the October 5, 2011 hearing date.



                                                      /s/ Katharine S. Hayden
                                                      KATHARINE S. HAYDEN
                                                      UNITED STATES DISTRICT JUDGE
